      Case 4:18-cv-00077-BMM Document 177 Filed 11/05/20 Page 1 of 10



Erik B. Thueson
P. O. Box 280
Helena, MT 59624-0280
Telephone: (406) 449-8200
ethueson@gmail.com

Scott Peterson
P. O. Box 557
Helena, MT 59624
Telephone: (406) 442-3261
speterson@mswdlaw.com
   Attorneys for Plaintiff Francis E. English

Michelle T. Friend/Ben Rechtfertig
2800 Central Ave., Ste. C
Billings, MT 59102
Telephone: (406) 896-4100
mfriend@hedgerlaw.com
brechtfertig@hedgerlaw.com

Dale Schowengerdt
900 N. Last Chance Gulch
Helena, MT 59601
Telephone: (406) 457-2040
dschowengerdt@crowleyfleck.com
   Attorneys for Defendant BNSF Railway Company

                IN THE UNITED STATES DISTRICT COURT
                    FOR THE DISTRICT OF MONTANA
                        GREAT FALLS DIVISION

FRANCIS E. ENGLISH,
                                                Case No. CV-18-77-GF-BMM
                                Plaintiff,
v.
                                                FINAL PRETRIAL ORDER
BNSF RAILWAY COMPANY,

                              Defendant.
      Case 4:18-cv-00077-BMM Document 177 Filed 11/05/20 Page 2 of 10




                                INTRODUCTION
      This matter is before the Court at a final pretrial conference held pursuant to

Rule 16 of the Federal Rules of Civil Procedure.

      PLAINTIFF’S COUNSEL:
            Erik B. Thueson
            P. O. Box 280
            Helena, MT 59624-0280
            Telephone: (406) 449-8200
            ethueson@gmail.com

            Scott Peterson
            P. O. Box 557
            Helena, MT 59624
            Telephone: (406) 442-3261
            speterson@mswdlaw.com

      DEFENDANT’S COUNSEL:
            Michelle T. Friend/Ben Rechtfertig
            2800 Central Ave., Ste. C
            Billings, MT 59102
            Telephone: (406) 896-4100
            mfriend@hedgerlaw.com
            brechtfertig@hedgerlaw.com




                             Final Pretrial Order - Page 2
      Case 4:18-cv-00077-BMM Document 177 Filed 11/05/20 Page 3 of 10



                           I. NATURE OF THE CASE

      Plaintiff sues defendant, his former employer, for damages resulting from

his termination from employment. He makes state law claims for mismanagement;

infliction of mental distress; and for punitive damages.

      Defendant disputes Plaintiff’s claims.

                               II. JURISDICTION

      Not disputed. Jurisdiction is proper based on diversity of the parties.

                           III. JURY OR NON-JURY

      Non-jury.

                              IV. AGREED FACTS

      1.     Plaintiff Frank English was born on April 27, 19**.

      2.     Mr. English was employed at BNSF from July 4, 2005 to September

14, 2016. He worked primarily as a locomotive conductor. He worked out of

Havre, Montana.

      3.     Mr. English was a member of the SMART Transportation Division

Union.

      4.     BNSF terminated Mr. English’s employment on September 14, 2016.


                             Final Pretrial Order - Page 3
      Case 4:18-cv-00077-BMM Document 177 Filed 11/05/20 Page 4 of 10



      5.      On May 21, 2018, BNSF removed to federal court on the ground of

complete diversity.

                          V. ELEMENTS OF LIABILITY

A.    PLAINTIFF

      1. BNSF’s conduct occurring on one or more of the five infractions

           constitute negligent or intentional mismanagement under § 39-2-703,

           MCA?

      2. BNSF’s overall conduct in terminating Mr. English constitutes negligent

           or intentional mismanagement under §703, supra.

      3. BNSF caused, either negligently or intentionally, Mr. English to suffer

           severe mental distress.

      4. BNSF’s fraudulent or intentional misconduct merits the award of

           punitive damages under § 27-1-220, MCA, et. seq.

      5. As a result of BNSF’s violation of state law, Mr. English suffered

           compensatory damages, including emotional suffering, loss of earning

           capacity, loss of earnings, alteration of established course of life and

           other types of damages authorized under Montana law and shown by the

           evidence, including punitive damages.




                               Final Pretrial Order - Page 4
       Case 4:18-cv-00077-BMM Document 177 Filed 11/05/20 Page 5 of 10



      6. There are several pretrial motions currently before the Court which may

          affect these elements.

B.    DEFENDANT

      Defendant disputes Plaintiff’s claims. None of its actions constitute

mismanagement as a matter of fact or law. BNSF made reasonable employment-

related decisions regarding Plaintiff. These decisions were based on a reasonable

interpretation of BNSF’s policies and practices and were not arbitrary, capricious,

unreasonable, or made in bad faith, but rather were reasonable and based on

substantial evidence. Plaintiff was dismissed for cause for a legitimate reason

pursuant to his collective bargaining agreement.

      Plaintiff’s claims under § 39-2-703, MCA, are unconstitutional as applied in

this case and violate the equal protection clause. Plaintiff’s claims are also

preempted under federal law, in particular the Railway Labor Act, 45 U.S.C. § 151,

et. seq., which deprives the Court of subject matter jurisdiction. Additionally, the

RLA requires deferral to the Public Law Board for interpretation of the controlling

Collective Bargaining Agreement. Thus, all or part of Plaintiff’s claims are barred

by arbitration and award. Plaintiff’s claims are also preempted under the Federal

Railroad Safety Act, Railroad Safety Improvement Act, the Hours of Service Act,

49 U.S.C. §§ 21101, et. seq., or other federal law, statutes, or regulation.



                              Final Pretrial Order - Page 5
       Case 4:18-cv-00077-BMM Document 177 Filed 11/05/20 Page 6 of 10



      Plaintiff originally filed suit asserting a claim only with respect to his now-

dismissed fifth disciplinary event. Plaintiff’s claims are barred by the two-year

statute-of-limitations.

      Plaintiff’s claims are also barred by the doctrines of waiver, laches,

collateral estoppel, res judicata, and release. Plaintiff appealed his last two

infractions to the Public Law Board, which upheld his discipline, finding: “The

Carrier has the right to expect employees in Claimant’s circumstance to be

available for call when needed, and an employee’s unavailability for call

negatively impacts the Carrier’s operations. After careful deliberation, the Board

finds that the dismissal assessed here was consistent with the Carrier's PEPA

Policy and that it was within the Carrier’s prerogative.” Plaintiff should be bound

by that determination. Additionally, Plaintiff agreed to waivers for the first three

infractions, which was a compromise or settlement of the issue. Further the ability

and right to a waiver is governed and provided by a CBA, so it is also preempted

by the RLA.

      Plaintiff’s contributory or comparative fault reduces or bars any recovery.

His claims are also barred by assumption of risk. Plaintiff’s damages must also be

limited based on his failure to mitigate damages. Plaintiff further has no right to

reinstatement and cannot use his railroad earnings as a basis for damages as the

Public Law Board upheld his dismissal.

                              Final Pretrial Order - Page 6
       Case 4:18-cv-00077-BMM Document 177 Filed 11/05/20 Page 7 of 10



       Plaintiff fails to state a claim for Negligent or Intentional Infliction of

Emotional Distress and cannot meet the standard for a stand-alone emotional

distress claim. In addition, he had preexisting conditions related to these claims.

       Plaintiff is not entitled to an award of punitive damages as it is preempted

under federal law, and, moreover, imposition of such would violate the Railway

Labor Act, Montana statutory law and BNSF’s substantive due process rights

under the Fourteenth Amendment to the U.S. Constitution and the Montana

Constitution Art. II, § 16, 17, and 22. BNSF did not act with fraud, malice or

reckless indifference and punitive damages are not appropriate under the facts of

this action.

                               VI. RELIEF SOUGHT

1.     Loss of earnings and earning capacity: approximately $1.5 million

2.     Emotional distress: $1million

3.     Punitive damages: $20,000,000

       Defendant requests that Plaintiff’s claims be dismissed and that he be

awarded nothing.

                                VII. LEGAL ISSUES

       The issues at trial will depend upon the issues resolved by pretrial motions.

The Court has indicated rulings will have been made on these pretrial motions by

approximately November 1, 2020.
                               Final Pretrial Order - Page 7
       Case 4:18-cv-00077-BMM Document 177 Filed 11/05/20 Page 8 of 10



      All issues as set forth above and those that may arise during trial.

                                 VIII. DISMISSALS

      The plaintiff will dismiss his allegations regarding the fifth infraction on

August 15, 2016. He may dismiss the first infraction, pertaining to the calculation

of his alleged rolling period violation, which constituted his first infraction.

                         IX. DISCOVERY DOCUMENTS

A.    PLAINTIFF

      1.     See Exhibit Lists attached hereto.

      2.     Defendant’s Answers to Interrogatory Nos. 1, 2, 4, 5, 6, 7, 8, 9, 10,

11, 13, 14, 15, 16 (plus Science of Sleep & Fatigue and TY&E Attendance

Guidelines Training (July 2015).

      3.     Defendant’s responses to Request for Admission Nos. 1, 2, 3, 4 and 5.

      4.     Defendant’s Responses to Requests for Production Nos. 3, 4, 5, 6, 7,

8, 9, 10, 12, 13, 14, 15, 16, 17, 18, 19, 21, 23, 24, 25, 26, 27, 28, 29, 30, 32, 33, 34.

      5.     Defendant’s Second Supplemental Rule 26 Initial Disclosure.




                               Final Pretrial Order - Page 8
       Case 4:18-cv-00077-BMM Document 177 Filed 11/05/20 Page 9 of 10



B.    DEFENDANT

      Defendant may submit Plaintiff’s Responses to Interrogatories and Requests

for Admission.

                       X. ESTIMATED TIME OF TRIAL

A.    PLAINTIFF

      Not including opening statement or closing argument, plaintiff estimates he

will be able to put on his evidence in two days or less. He intends to call 14

witnesses. All will be trainmen who work or have worked for BNSF. Their

testimony will be based on their experience as trainmen. Plaintiff’s Witness Lists

are attached.

      The plaintiff estimates it will take less than half a day to present evidence

relevant to the Court’s determination of punitive damages.

B.    DEFENDANT

      Defendant estimates it will take two days or less to present its case,

particularly given that some testimony will be submitted via deposition. Because

the parties are filing proposed findings of fact and conclusions of law, as well as

post-evidentiary filings, Defendant does not believe extensive opening statements

or closing arguments are necessary.


                              Final Pretrial Order - Page 9
      Case 4:18-cv-00077-BMM Document 177 Filed 11/05/20 Page 10 of 10



      Defendant estimates it will call 9 witnesses live or via video conference, and

others by deposition. Defendant’s Witness Lists are attached.

      A separate hearing must be held on the issue of punitive damages, only if

there is a liability finding by the Court.

                                XI. SUPERSESSION

      This Order supersedes the pleadings.

      DATED this 5th day of November, 2020.




Approved as to form and content:



/s/ Erik B. Thueson                                    /s/ Michelle T. Friend
Attorney for Plaintiff Francis English                 Attorney for Defendant BNSF




                              Final Pretrial Order - Page 10
